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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 LAURA ENRIQUEZ,

      Plaintiff,

 v.
                                                          Case No. 1:21-cv-01794
 ATLANTIC RECOVERY SOLUTIONS,
 LLC,

      Defendant.

                                  FIRST AMENDED COMPLAINT

        NOW COMES Plaintiff, LAURA ENRIQUEZ, through undersigned counsel,

complaining of Defendant, ATLANTIC RECOVERY SOLUTIONS, LLC, as follows:

                                     NATURE OF THE ACTION

        1.         This action is seeking redress for Defendant’s violation(s) of the Fair Debt

Collection Practices Act (the “FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        3.         Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         LAURA ENRIQUEZ (“Plaintiff”) is a natural person, over 18-years-of-age, who

at all times relevant resided at 434 South Grace Street, Lombard, Illinois 60148.

        5.         Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.         ATLANTIC RECOVERY SOLUTIONS, LLC, (“Defendant”) is a limited liability

company organized and existing under the laws of the state of New York.




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         7.       Defendant maintains a principal place of business at 33 Dodge Road, Suite 108,

Getzville, New York, 14068.

         8.       Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).1

         9.       Defendant uses instrumentalities of interstate commerce and the mail in its business

– the principal purpose of which is the collection of debt owed or due or asserted to be owed or

due another.

                                         FACTUAL ALLEGATIONS

         10.      Like many Americans this past year, Plaintiff suffered financial hardship—causing

Plaintiff to fall behind on numerous financial obligations.

         11.      On February 23, 2021, Defendant phoned +1 (512) 659-2996.

         12.      +1 (512) 659-2996 belongs to Plaintiff's son-in-law, Rene Resendiz.

         13.      Mr. Resendiz received a voicemail from +1 (737) 610-8063.

         14.      Specifically, this message said:

                  Laura Enriquez, this is Michael [inaudible] calling with the offices of ARS.
                  The reason for my call today is to notify you as you know we have tried
                  several times to reach you—including a demand for payment letter that was
                  sent to the Grace Street address that you failed to respond to. At this time,
                  I will mark the account as a direct refusal to pay based on your lack of
                  response. I will be scheduling verification of your employment and send
                  that back to my client. Now this is an attempt to collect a debt. Any
                  information obtained will be used for that sole purpose. My number is
                  going to be 833-619-0974. Thanks.

         15.      Defendant's February 23, 2021 voicemail is a “communication” as defined by 15

U.S.C. § 1692a(2).




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 Atlantic Recovery Solutions is one of the top-notch recovery agencies in the industry. Besides recovering credit card
accounts, to auto loans and retail accounts, our company has dealt in every sector of the industry with terrific results….

Here at Atlantic Recovery Solutions, we provide services to our customers that include debt collection as well as
referrals for litigation solutions. https://www.atlanticrecoverysolutions.com/about (last accessed April 6, 2021).

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       16.     Upon information and belief, Plaintiff's purported debt is a "debt" as defined by 15

U.S.C. § 1692a(5).

       17.     Mr. Resendiz notified Plaintiff—to let her know that he received message(s)

intended for her.

       18.     Once more, on March 24, 2021, Defendant phoned +1 (512) 659-2996.

       19.     This time, however, Mr. Resendiz answered.

       20.     Resendiz was met by an automated, pre-recorded message requesting Plaintiff call

back Defendant at +1 (855) 221-4405.

       21.     Yet again, Resendiz notified Plaintiff of this call.

       22.     Ashamed and dismayed—Plaintiff sought to explain away these phone calls.

       23.     At no time did the number +1 (512) 659-2996 belong to Plaintiff.

       24.     To date, Plaintiff has not received anything—in writing—from Defendant

regarding Plaintiff's purported debt.

                                           DAMAGES

       25.     Defendant's     phone     calls   to    Mr.    Resendiz   resulted    in   anxiety,

embarrassment/humiliation, invasion of privacy, as well as reputational harm.

       26.     Moreover, Defendant's failure to provide anything in writing deprived Plaintiff an

opportunity to analyze and dispute the purported debt.

       27.     Concerned with having had her rights violated, Plaintiff engaged counsel—

expending time and incurring attorney’s fees to end the phone calls.




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                                      CLAIMS FOR RELIEF

                                         COUNT I:
                 Fair Debt Collection Practices Act—15 U.S.C. § 1692 et seq.

       28.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                   Violation of 15 U.S.C. § 1692b

       29.     Section 1692b provides:

               [a]ny debt collector communicating with any person other than the
               consumer for the purpose of acquiring location information about the
               consumer shall –

                        (2)      not state that such consumer owes any debt.

       30.     Defendant violated 15 U.S.C. § 1692b(2) by leaving Mr. Resendiz message(s)

disclosing that they were seeking to collect debt Plaintiff owed and threatening further action if

this debt continued to go unaddressed.

                                   Violation of 15 U.S.C. § 1692c

       31.     Section 1692c provides:

               (b) Communication with third parties. Except as provided in section 1692b,
               without the prior consent of the consumer given directly to the debt
               collector, or the express permission of a court of competent jurisdiction, or
               as reasonably necessary to effectuate a post judgment judicial remedy, a
               debt collector may not communicate, in connection with the collection of
               any debt, with any person other than the consumer, his attorney, a consumer
               reporting agency if otherwise permitted by law, the creditor, the attorney of
               the creditor, or the attorney of the debt collector.

15 U.S.C. § 1692c(b).

       32.     Defendant violated 15 U.S.C. § 1692c(b) by communicating with Mr. Resendiz on

February 23, 2021 and March 24, 2021.




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                                Violation(s) of 15 U.S.C. § 1692g

       33.     Section 1692g(a) provides:

               (a) Within five days after the initial communication with a consumer in
               connection with the collection of any debt, a debt collector shall, unless the
               following information is contained in the initial communication or the
               consumer has paid the debt, send the consumer a written notice
               containing—


                       (1)    the amount of the debt;

                       (2)    the name of the creditor to whom the debt is owed;

                       (3)    a statement that unless the consumer, within thirty days after
                              receipt of the notice, disputes the validity of the debt, or any
                              portion thereof, the debt will be assumed to be valid by the
                              debt collector;

                       (4)    a statement that if the consumer notifies the debt collector in
                              writing within the thirty-day period that the debt or any
                              portion thereof, is disputed, the debt collector will obtain
                              verification of the debt or a copy of a judgment against the
                              consumer and a copy of such verification or judgment
                              against the consumer and a copy of such verification or
                              judgment will be mailed to the consumer by the debt
                              collector; and

                       (5)    a statement that, upon the consumer’s written request within
                              the thirty-day period, the debt collector will provide the
                              consumer with the name and address of the original creditor,
                              if different from the current creditor.

       34.     Pursuant to §1692g of the FDCPA, a debt collector must send the consumer a 30-

day validation notice informing the consumer of the right to dispute the validity of the debt within

five days of the initial communication with the consumer.

       35.     The validation notice provisions were included by Congress to ensure that

consumers receive their dispute rights.




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       36.     Defendant violated §1692g by failing to send Plaintiff the 30-day validation notice

within five days of Defendant's first communication with Plaintiff.

       37.     Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692b(2), c(b), and g(a)

pursuant to section k of the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who

fails to comply with any provision of [the FDCPA] with respect to any person is liable to such

person in an amount equal to the sum of -

       (1)     any actual damage sustained by such person as a result of such failure;

       (2)

               (A)    in the case of any action by an individual, such additional damages
                      as the court may allow, but not exceeding $1,000.00; or

       (3)     in the case of any successful action to enforce the foregoing liability, the
               costs of the action, together with reasonable attorney's fees as determined
               by the court.

       WHEREFORE, Plaintiff requests the following relief:

       A.      a finding that Defendant violated 15 U.S.C. §§ 1692b(2), c(b), and g(a);

       B.      an award of any actual damages sustained by Plaintiff as a result of Defendant’

               violation(s);

       C.      an award of such additional damages, as the Court may allow, but not exceeding

               $1,000.00;

       D.      an award of costs of this action, together with reasonable attorney’s fees as

               determined by this Court; and

       E.      an award of such other relief as this Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

DATED: April 6, 2021                                  Respectfully submitted,

                                                      LAURA ENRIQUEZ

                                                      By: /s/ Joseph S. Davidson

                                                      Joseph S. Davidson
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